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THE UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
IN RE:
REPAIR GUY ONE, LLC, CASE NO. 8:23-bk-02545-CPM
Chapter 7
Debtor. /

NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

TO THE DEBTOR, ITS ATTORNEYS OF RECORD, AND ALL PARTIES IN
INTEREST:

PLEASE TAKE NOTICE that pursuant to Bankruptcy Rules 2002 and 9007 and
Bankruptcy Code Sections 102(1) and 342, Harry J. Ross Esquire, (the “Attorney” as counsel for
creditor J&B Dock and Boat Lift LLC, requests that all notices given or required to be given in
the above-referenced case (including, without limitation, all papers filed and served in the Debtor’s
main bankruptcy case and all adversary proceedings in this case, and all notices mailed only to
statutory committees and to creditors who file with the court their request that all notices be mailed
to them) be given to and served upon the Attorney at the following address:

Harry J. Ross, Esq

6100 Glades Road Suite 211

Boca Raton, FL 33434

Telephone: (561) 482-2400
Email: hross@hjrlaw.com and jerri(@hjrlaw.com

Notice is further given that the foregoing request includes not only notices and papers
referred to in Bankruptcy Rule 2002, but also includes, without limitation, orders and notices of

any application, motion, petition, pleading, request, complaint or demand, whether formal or
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informal, whether written or oral, and whether transmitted or conveyed by mail, hand delivery,
telephone, telegraph, facsimile, telex or otherwise that affect the above-captioned debtor or the
property of such debtor or the debtor’s estate.

Dated: July 28, 2023

CERTIFICATION OF SERVICE

I HEREBY CERTIFY that copy of the foregoing Notice of Appearance was served via
CM/ ECF transmission on all parties currently on the list to receive e-mail notice/service on July

28, 2023.

Office of the United States Trustee
TPA7/13 Timberlake Annex

Suite 1200

501 E Polk Street

Tampa, FL 33602-3949
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LAW OFFICES OF HARRY J. ROSS

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By:  /s/ Harry J. Ross
HARRY J. ROSS, ESQ.
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